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                            ATTACHMENT C

                                  Books
1)    DAVID BALL, DAVID BALL ON DAMAGES 3 (2013)

2)    DAVID BALL & DON KEENAN, REPTILE: THE 2009 MANUAL                OF THE
      PLAINTIFF’S REVOLUTION (2009)

3)    DAVID BALL & DON KEENAN, THE REPTILE IN THE MIST (2013)

4)    DON KEENAN, THE KEENAN EDGE (2012)

5)    DON KEENAN, THE KEENAN EDGE 2 (2014)

6)    DON KEENAN, THE KEENAN EDGE 3 (2016)

7)    DON KEENAN, THE KEENAN EDGE 4 (2016)

8)    DON KEENAN, THE KEENAN EDGE 5 (2019)

9)    DON KEENAN, OPENING STATEMENTS (2018)

10)   ANDREW GOULD & WILLIAM ENTREKIN, THE KEENAN LAW FIRM POLICY &
      PROCEDURE MANUAL FOCUS GROUPS (2015)

11)   PHILLIP MILLER &. PAUL SCOPTUR, FOCUS GROUPS: HITTING THE BULLSEYE
      (2016)

12)   KEITH MITNIK, DON’T EAT THE BRUISES: HOW TO FOIL THEIR PLANS TO SPOIL
      YOUR CASE (2015)

13)   SARI DE LA MOTTE, FROM HOSTAGE      TO   HERO: CAPTIVATE   THE   JURY   BY
      SETTING THEM FREE (2019)

14)   ROBERT T. HALL & MILA RUIZ TECALA, GRIEF AND LOSS, IDENTIFYING AND
      PROVING DAMAGES IN WRONGFUL DEATH CLAIMS (2010)

15)   MOE LEVINE, MOE LEVINE ON ADVOCACY (2009)

16)   MOE LEVINE, MOE LEVINE ON ADVOCACY II (2012)


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17)   ERIC OLIVER, PERSUASIVE COMMUNICATION: TWENTY-FIVE YEARS            OF
      TEACHING LAWYERS (2009)

18)   RICK FRIEDMAN & PATRICK MALONE, RULES OF THE ROAD: A PLAINTIFF
      LAWYER’S GUIDE TO PROVING LIABILITY (2010)

19)   PATRICK MALONE & RICK FRIEDMAN, WINNING MEDICAL MALPRACTICE
      CASES WITH THE RULES OF THE ROAD TECHNIQUE (2012)

20)   RICK FRIEDMAN & BILL CUMMINGS, THE ELEMENTS OF TRIAL (2013)

21)   RICK FRIEDMAN, POLARIZING    THE   CASE: EXPOSING & DEFEATING      THE
      MALINGERING MYTH (2014)

22)   PATRICK MALONE, THE FEARLESS CROSS: WIN THE WITNESS, WIN THE CASE
      (2016)

23)   LISA BLUE & ROBERT B. HIRSCHHORN, CONDUCTING VOIR DIRE (2014)

24)   LISA BLUE & ROBERT B. HIRSCHHORN, PREPARING FOR VOIR DIRE (2014)

25)   WILLIAM A. BARTON, RECOVERING      FOR   PSYCHOLOGICAL INJURIES (3d ed.
      2010)

26)   GERRY SPENCE, SEVEN SIMPLE STEPS TO PERSONAL FREEDOM (2002)

27)   GERRY SPENCE, HOW TO ARGUE AND WIN EVERY TIME (1996)

28)   GERRY SPENCE, WIN YOUR CASE (2006)

29)   FRANCIS WELLMAN, THE ART OF CROSS-EXAMINATION (2017)

30)   DENNIS R. SUPLEE & NICOLE REIMANN, THE DEPOSITION HANDBOOK (5TH ED.
      2015)

31)   EDWARD P. CAPOZZI, THE DOMINO THEORY (2016)

32)   NICHOLS ROWLEY & COURTNEY ROWLEY, RUNNING WITH THE BULLS: HOW
      TO WIN TOP-DOLLAR SETTLEMENTS (2019)

33)   NICHOLAS ROWLEY & STEVEN HALTEMAN, TRIAL BY HUMAN (2013)


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34)   COURTNEY ROWLEY & THERESA BOWEN HATCH, TRIAL BY WOMAN (2018)

35)   NICHOLAS ROWLEY, COURTNEY ROWLEY, & WENDY SAXON, VOIR DIRE AND
      OPENING STATEMENTS (2020)

36)   JIM M. PERDUE, WHO WILL SPEAK FOR THE VICTIM (1989)

37)   JIM M. PERDUE, WINNING WITH STORIES: USING THE NARRATIVE TO PERSUADE
      IN TRIAL, SPEECHES & LECTURES (2006)

38)   JOHN MORGAN, YOU CAN’T TEACH HUNGRY (2015)

39)   JOHN MORGAN, YOU CAN’T TEACH VISION (2015)

40)   ROBERT F. TYSON, JR., NUCLEAR VERDICTS: DEFENDING JUSTICE      FOR   ALL
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41)   CLOTAIRE RAPAILLE, THE CULTURE CODE (2007)

42)   FRANK LUNTZ, WORDS    THAT   WORK, IT’S NOT WHAT YOU SAY IT’S WHAT
      PEOPLE HEAR (2008)

43)   DALE CARNEGIE, HOW TO WIN FRIENDS AND INFLUENCE PEOPLE (1998)



                                    DVDs
1)    The Reptile: Voir Dire Keenan/Ball Method of General and Specific Voir
      Dire

2)    The Edge Voir Dire: The Keenan Method to General and Specific Voir Dire

3)    The Reptile: The Ball Method of Opening Statements

4)    Reptile: The Keenan Law Firm’s Method to Witness Preparation

5)    The Reptile: How to do Focus Groups in House

6)    Keenan Law Firm Ultimate Focus Groups




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